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     2:17-cv-04251-RGK Doc
                        Document
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Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
                                     Filed 02/01/18
                                                Entered
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                                                                           Desc
                         Main Document     Page 2 of 9
Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
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                                                                           Desc
                         Main Document     Page 3 of 9
Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
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                                                Entered
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                                                                           Desc
                         Main Document     Page 4 of 9
Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
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                                                                           Desc
                         Main Document     Page 5 of 9
Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
                                     Filed 02/01/18
                                                Entered
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                                                                           Desc
                         Main Document     Page 6 of 9
Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
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                                                Entered
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                                                        02/05/18
                                                          7 of 9 09:54:00
                                                                 Page ID #:5446
                                                                           Desc
                         Main Document     Page 7 of 9
Case
Case 2:13-ap-01854-BR
     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
                                 19 02/05/18
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                                                Entered
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                                                        02/05/18
                                                          8 of 9 09:54:00
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                                                                           Desc
                         Main Document     Page 8 of 9
Case
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     2:17-cv-04251-RGK Doc
                        Document
                           626 Filed
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                                                                           Desc
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